        Case 2:19-cv-09336-DFM Document 195 Filed 12/21/22 Page 1 of 1 Page ID #:5173




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 Case No.        2:19-cv-09336-ODW (PVCx)                                 Date   December 21, 2022
 Title           Castel S.A. v. Christopher A. Wilson et al.


 Present: The Honorable          Otis D. Wright II, United States District Judge
                Sheila English                             Not reported                          N/A
                Deputy Clerk                       Court Reporter / Recorder                   Tape No.
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                     Not present                                            Not present
 Proceedings (In Chambers):

      In light of the parties’ Statement of Consent to Proceed Before a United States Magistrate
Judge, (ECF No. 192), the Court VACATES the February 24, 2023 trial date and all other dates
and deadlines in this matter.

IT IS SO ORDERED.

                                                                                    :     00
                                                   Initials of Preparer   SE




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                  Page 1 of 1
